                                          Case 5:20-cv-00411-SVK Document 32 Filed 04/28/20 Page 1 of 2




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     ALEXANDER MARTIN VON                                     Case No. 20-cv-00411-SVK
                                         BRANDENFELS,
                                   8
                                                        Plaintiff,                                CASE MANAGMENT ORDER
                                   9
                                                 v.
                                  10
                                         ROOMSTER CORP,
                                  11
                                                        Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          A case management conference was held on April 28, 2020. A further case management

                                  14   conference is set for November 10, 2020 at 9:30 a.m. The parties must file a joint case

                                  15   management conference statement by November 3, 2020.

                                  16          The discovery limits of the Federal Rules of Civil Procedure shall apply.

                                  17          Privilege Logs: The parties need not produce or include on privilege logs any post-

                                  18   complaint communications with outside counsel. Additionally, the parties should produce

                                  19   privilege logs in accordance with this Court’s Civil Scheduling and Discovery Standing Order.

                                  20          Subpoenas: In response to Plaintiff’s inquiry as to the issuance of third-party subpoenas

                                  21   during the current public health emergency, the clerk’s office will mail Plaintiff two (2) signed

                                  22   subpoenas. Should Plaintiff require more, he must contact the Court at

                                  23   SVKCRD@cand.uscourts.gov and state the quantity and type of subpoenas needed.

                                  24          In response to Defendant’s inquiry regarding the use of substituted service for third-party

                                  25   subpoenas, the parties must proceed with in-person service as directed by Rule 45 of the Federal

                                  26   Rules of Civil Procedure but should inform this Court if they become aware of any authority that

                                  27   permits substituted service during the current shelter-in-place.

                                  28          This matter has been set for trial on the following schedule:
                                          Case 5:20-cv-00411-SVK Document 32 Filed 04/28/20 Page 2 of 2




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                                   2         Scheduled Event                        Deadline

                                   3         Last Day to Amend Pleadings            April 13, 2020
                                   4
                                             Close of Fact Discovery                October 31, 2020
                                   5
                                             Further Case Management Conference     November 10, 2020 at 9:30 a.m.
                                   6
                                                                                    Statement due: November 3, 2020
                                   7
                                             Opening Expert Disclosures             November 17, 2020
                                   8
                                   9         Deadline to Complete Court Mediation   November 30, 2020

                                  10         Rebuttal Disclosures                   December 15, 2020
                                  11
                                             Close of Expert Discovery              February 5, 2021
                                  12
Northern District of California
 United States District Court




                                  13         Dispositive Motion Filing Deadline     February 19, 2021

                                  14         Last Day to Hear Dispositive Motions   March 30, 2021
                                  15
                                             Final Pretrial Conference              June 10, 2021 at 9:30 a.m.
                                  16
                                                                                    Pretrial Filings due: May 27, 2021
                                  17
                                                                                                         June 3, 2021
                                  18
                                             Jury Trial                             June 21-25, 2021 at 9:00 a.m.
                                  19
                                              SO ORDERED.
                                  20
                                       Dated: April 28, 2020
                                  21

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                                                                                               SUSAN VAN KEULEN
                                  24                                                           United States Magistrate Judge

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